Case 6:18-cr-00091-DDD-PJH Document 68 Filed 06/01/21 Page 1 of 12 PagelID #: 397

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
LAFAYETTE DIVISION

 

UNITED STATES OF AMERICA CASE NO. 18-cr-091-01-01

“vs- JUDGE DRELL

KENYATTA EDMOND (01) MAGISTRATE JUDGE PATRICK J.
HANNA

 

RULING AND ORDER

Before the court is a motion to vacate sentence under 28 U.S.C. § 2255 filed pro
se by defendant Kenyatta Edmond (“Edmond” or “Defendant”). For the following
reasons, the motion is DENIED.

I. BACKGROUND

A. Offensive Conduct and Arrest

On January 22, 2018, around midnight, a concerned citizen found and reported
Edmond asleep at the wheel with a handgun in his lap at the intersection of
Evangeline Thruway and Mudd Avenue in Lafayette, Louisiana. Officers arrived,
woke Edmond up, and requested that Edmond exit the vehicle, to which Edmond
complied. Edmond was searched; no weapon was found. Edmond’s vehicle was
searched; two pistols were found in Edmond’s vehicle. The officers also identified

Edmond as being a felon.

 
Case 6:18-cr-00091-DDD-PJH Document 68 Filed 06/01/21 Page 2 of 12 PagelID #: 398

B. Procedural Posture

Edmond was indicted by a federal grand jury on one count of possession of a
firearm by a convicted felon. (Doc. 1). Edmond was represented by Federal Public
Defender Cristie Gibbens (“Gibbens”). Before entering a guilty plea, Edmond moved
to suppress evidence challenging the legality of the Officer’s search and seizure
predicated on Edmond’s pre—Miranda warning statements that his vehicle contained
two guns. The government responded arguing that the search and seizure was
reasonable under Terry v. Ohio, 392 U.S. 1, 19-20 (1968). In reply, Edmond (or
Gibbens as the instant motion implies) conceded that the government had satisfied
the first prong of Terry, whether the officers’ actions were justified at its inception.
Id. However, Edmond did not concede that the government established the second
prong of Terry, whether the search of Edmond’s vehicle was reasonably related in
scope to the circumstance which justified the interference in the first place. Id.

Magistrate Judge Pat Hanna held a hearing on the matter and ultimately
issued a report and recommendation to deny Edmond’s motion to suppress. We
agreed with Magistrate Judge Hanna and adopted the recommendation. With
permission of the Court, Edmond entered a conditional guilty plea and appealed the
denial of his motion to suppress. The Fifth Circuit affirmed this Court’s decision
denying the motion to suppress. United States v. Edmond, 787 F. App'x 258 (5th Cir.
2019).

Edmond’s instant §2255 motion amounts to challenging his counsel Gibbens’

decision to concede the first prong under Terry. In his first enumerated ground,

 
Case 6:18-cr-00091-DDD-PJH Document 68 Filed 06/01/21 Page 3.of 12 PagelID#: 399

Edmond alleges his attorney’s concession resulted in an inability to confront
witnesses. The witnesses at issue were the concerned citizen who discovered Edmond
and the first officer on scene. In his second enumerated ground, Edmond alleges his
attorney failed to investigate the initial traffic stop and question the concerned citizen
and first officer. In his third enumerated ground, Edmond alleges he was denied
effective counsel resulting from Gibbens’ actions.

Il. LAW

There are four grounds upon which a federal prisoner may move to vacate, set
aside, or correct his sentence: (1) the sentence was imposed in violation of the
Constitution or laws of the United States; (2) the court was without jurisdiction to
impose the sentence; (3) the sentence exceeds the statutory maximum sentence; or
(4) the sentence is otherwise subject to collateral attack. See 28 U.S.C. § 2255; United
States v. Cates, 952 F.2d 149, 151 (5th Cir.), cert. den., 504 U.S. 962 (1992). The scope
of relief under § 2255 is consistent with that of the writ of habeas corpus. See Cates,
952 F.2d at 151; see also United States v. Placente, 81 F.3d 555, 558 (5th Cir. 1996).

Relief under 28 U.S.C. § 2255 is reserved for transgressions of constitutional
rights and for a narrow range of injuries that could not have been raised on direct
appeal and would, if condoned, result in a complete miscarriage of justice.
Nonconstitutional claims that could have been raised on direct appeal, but were not,
may not be asserted in a collateral proceeding. See United States v. Vaughn, 955
F.2d 367, 368 (5th Cir. 1992); United States v. Ressler, 54 F.3d 257, 259 (5th Cir.

1995). Moreover, it is settled in this circuit that issues raised and disposed of in a

 
Case 6:18-cr-00091-DDD-PJH Document 68 Filed 06/01/21 Page 4 of 12 PagelD #: 400

previous appeal from an original judgment of conviction are not considered in § 2255
motions. See United States v. Kalish, 780 F.2d 506, 508 (5th Cir.), cert. den., 476
U.S. 1118 (1986); United States v. Fields, 761 F.3d 443, 466, 482 (5th Cir. 2014), cert.
den., 135 S. Ct. 2803 (U.S. 2015); United States v. Segler, 37 F.3d 1131, 1134 (5th
Cir. 1994).

A collateral challenge may not do as a substitute for an appeal. United States
v. Frady, 465 U.S. 152, 165 (1982). After conviction and exhaustion or waiver of any
right to appeal, the federal courts are entitled to presume that the defendant stands
fairly and finally convicted. See United States v. Shaid, 937 F.2d 228, 231-32 (5th
Cir. 1991), cert. den., 502 U.S. 1076 (1992). “Where a defendant has procedurally
defaulted a claim by failing to raise it on direct review, the claim may be raised in
habeas only if the defendant can first demonstrate either cause and actual prejudice
or that he is actually innocent.” Bousley v. United States, 523 U.S. 614, 622, (1998)
(internal citations omitted). A claim may not be reviewed under § 2255 absent a
showing of cause and prejudice or actual innocence. United States v. Cooper, 548 F.
App'x 114, 116 (5th Cir. 2013); United States v. Hicks, 945 F.2d 107, 108 (5th Cir.
1991). Absent exceptional circumstances, establishment of ineffective assistance of |
counsel satisfies cause and prejudice. United States v. Acklen, 47 F.3d 739, 742 (5th
Cir. 1995).

In a motion to vacate sentence for ineffective assistance of counsel, the
defendant has the burden of proof. See United States v. Chavez, 193 F.3d 375, 378

(5th Cir. 1999) (citing Clark v. Collins, 19 F.3d 959, 964 (5th Cir. 1994), cert. den.,

 
Case 6:18-cr-00091-DDD-PJH Document 68 Filed 06/01/21 Page 5of12 PagelID#: 401

513 U.S. 966 (1994)). To prevail on his motion, Defendant must satisfy the two-
pronged test set forth by the Supreme Court in Strickland v. Washington, 466 U.S.
668, 687 (1984): (1) counsel's performance was deficient; and (2) the deficient
performance prejudiced the defense. The movant must show both deficient
performance and prejudice to succeed on his claim. See United States v. Stewart, 207
F.3d 750, 751 (5th Cir. 2000) (“A court need not address both components of an
ineffective assistance of counsel claim if the movant makes an insufficient showing
on one.”

Regarding the first prong of Strickland, a fair assessment of attorney
performance requires that every effort be made to eliminate the distorting effects of
hindsight and to evaluate the conduct from counsel's perspective at the time. See
Dowthitt v. Johnson, 230 F.3d 733, 743 (5th Cir. 2000), cert. den., 532 U.S. 915 (2001)
(citing Strickland, 466 U.S. at 689). “Judicial scrutiny of counsel's performance must
be highly deferential.” Strickland, 466 U.S. at 669. The court must consider the
totality of the circumstances. Murray v. Maggio, 736 F.2d 279, 281 (5th Cir. 1984).
“However, because it is all too easy to second-guess an unsuccessful counsel's defense
with the benefit of hindsight, in making that inquiry ‘a court must indulge a strong
presumption that counsel's conduct falls within the wide range of reasonable
professional assistance; that is, the defendant must overcome the presumption that,
under the circumstances, the challenged action ‘might be considered sound trial
strategy.” ” Murray v. Maggio, 736 F.2d 279, 281 (5th Cir. 1984) (citing Strickland,

466 U.S. at 669). The court must be particularly wary of arguments that essentially

 
Case 6:18-cr-00091-DDD-PJH Document 68 Filed 06/01/21 Page 6 of 12 PageID#: 402

come down to a matter of degrees, such as whether counsel investigated enough or
presented enough mitigating evidence. Those questions are even less susceptible to
judicial second-guessing. See Dowthitt, 230 F.3d at 743 (citing Kitchens v. Johnson,
190 F.3d 698, 703 (5th Cir. 1999)).

Regarding the second prong of Strickland, a defendant is prejudiced if there is
a reasonable probability that, “but for counsel's unprofessional errors, the results of
the proceedings would have been different.” Strickland, 466 U.S. at 689. To make
that determination, the court must examine the proceedings as a whole, giving due
consideration to the weight of the evidence supporting the verdict and evaluating the
alleged failings of counsel in that total setting. The court does not assess any alleged
error in isolation. See United States v. Kayode, 777 F.3d 719, 725 (5th Cir. 2014) (“In
assessing prejudice, we consider the totality of the circumstances...”).

“(T]he two-part Strickland v. Washington test applies to challenges to guilty
pleas based on ineffective assistance of counsel.” Hill v. Lockhart, 474 U.S. 52, 58
(1985). To demonstrate prejudice after a defendant accepts a guilty plea, the
defendant must show “that there is a reasonably probability that but for counsel’s
errors, the defendant would not have plead guilty and would have insisted on going
to trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985). The defendant “must convince the
court that a decision to reject the plea bargain would have been rational under the
circumstances.” Padilla v. Kentucky, 559 U.S. 356, 372 (2010). The court must “focus
on the defendant’s decisionmaking.” Lee v. United States, 1387 S. Ct. 1958, 1961,

(2017). However, “[clourts should not upset a plea solely because of post hoc

 
Case 6:18-cr-00091-DDD-PJH Document 68 Filed 06/01/21 Page 7 of 12 PagelID #: 403

assertions from a defendant about how he would have pleaded but for his attorney's
deficiencies. Judges should instead look to contemporaneous evidence to substantiate
a defendant's expressed preferences.” Id. at 1967. “Factors relevant to determining
whether a, defendant would have gone to trial can also include ‘the risks [he] would
have faced at trial,’ his ‘representations about his desire to retract his plea,’ and ‘the
district court's admonishments.” United States v. Valdez, 973 F.3d 396, 403 (5th Cir.
2020) (quoting United States v. Batamula, 823 F.3d 237, 240 n.4 (5th Cir. 2016)).
Finally, “conclusory allegations of ineffective assistance of counsel do not raise
a constitutional issue in a federal habeas proceeding.” Miller v. Johnson, 200 F.3d
274, 282 (5th Cir. 2000) (citing Ross v. Estelle, 694 F.2d 1008, 1012 (5th Cir.1983)).
“One claiming ineffective assistance of counsel must identify specific acts or
omissions; general statements and conclusionary charges will not suffice.” Knighton
v. Maggio, 740 F.2d 1344, 1849 (5th Cir. 1984) cert. denied, 469 U.S. 924, 105 S.Ct.
306, 83 L.Ed.2d 241 (1984). “In the absence of a specific showing of how [the] alleged
errors and omissions were constitutionally deficient, and how they prejudiced [the
defendant’s] right to a fair trial,” a court will find a claim of ineffective assistance of
counsel to be without merit. Barnard v. Collins, 958 F.2d 634, 642 (5th Cir.1992).
Further, counsel is not ineffective for failing to raise a meritless claim. United States
v. Gibson, 55 f.3d 173, 179 (5th Cir. 1995) (“Counsel is not required by the Sixth
Amendment to file meritless motions.”); Koch v. Puckett, 907 F.2d 524, 527 (5th Cir.

1990) (“[Clounsel is not required to make futile motions or objections.”).

 
Case 6:18-cr-00091-DDD-PJH Document 68 Filed 06/01/21 Page 8 of 12 PagelD #: 404

II. ANALYSIS

The Court is able to resolve the merits of this motion to vacate without the
necessity of an evidentiary hearing because there is no genuine issue of material fact
that is relevant to the claims of the petitioner, and the Court records provide the
required and adequate factual basis necessary to the resolution of the Section 2255
motion. See United States v. Green, 882 F.2d. 999, 1008 (5th Cir. 1989); Section 2255
Rule 8(a). Specifically, even if we accept Edmond’s factual allegations as true, he fails
to establish either that his attorney's performance was deficient or that he was
prejudiced by her performance, whether or not deficient.

A, ATTORNEY PERFORMANCE

As observed above, Edmond’s instant motion amounts to a challenge to his
counsel Gibbens’ decision to concede the first prong under Terry. He says she failed
to (1) summon the concerned citizen who hail the first officer and the first officer on
scene for cross-examination at the suppression hearing and (2) investigate the events
resulting in the initial seizure via traffic stop.

“To prevail on an ineffective assistance claim based upon uncalled witnesses,
an applicant must name the witness, demonstrate that the witness would have
testified, set out the content of the witness's proposed testimony, and show that the
testimony would have been favorable.” Gregory v. Thaler, 601 F.3d 347, 352 (5th Cir.
2010)(citing Alexander v. McCotter, 775 F.2d 595, 602 (5th Cir. 1985). “Claims of
uncalled witnesses are disfavored, especially if the claim is unsupported by evidence

indicating the witnesses’s [sic] willingness to testify and the substance of the

 
Case 6:18-cr-00091-DDD-PJH Document 68 Filed 06/01/21 Page 9 of 12 PagelD #: 405

proposed testimony.” Id. (citing Harrison v. Quarterman, 496 F.3d 419, 428 (5th
Cir.2007)).

“A defendant who alleges a failure to investigate on part of his counsel must
allege with specificity what the investigation would have revealed and how it would
have altered the outcome of the trial.” Green, 882 F.2d at 1003 (5th Cir. 1989); see
also Anderson v. Collins, 18 F.3d 1208, 1221 (5th Cir. 1994)(finding that defendant
failed to show “what this investigation would have divulged or how it would
have been likely to make any difference in his trial or sentencing”). “In any
ineffectiveness case, a particular decision not to investigate must be directly assessed
for reasonableness in all the circumstances, applying a heavy measure of deference
to counsel’s judgments.” Strickland, 466 U.S. at 680.

Edmond does not indicate the willingness of the witnesses to testify, does not
provide for the substance of their proposed testimony, does not specify what an
investigation would have revealed, nor how an investigation would have altered the
outcome of the suppression hearing or the ultimate entry of his guilty plea. His
allegations are conclusory and fail to provide a specific showing of how the alleged
errors and omissions were constitutionally deficient. Accordingly, we find Edmond’s
claim of deficient performance to be without merit. Further, and as discussed below,
Edmond’s current challenge that the government did not satisfy the first prong of
Terry is without merit, and his counsel was not ineffective for failing to raise a

meritless claim.

 
Case 6:18-cr-00091-DDD-PJH Document 68 Filed 06/01/21 Page 10 of 12 PagelID #: 406

B. PREJUDICE

Leading up to the guilty plea hearing Edmond advised Gibbens of his intent to
report Gibbens for being ineffective. (Doc. 54, p.3). However, he affirmed in the guilty
plea hearing that he no longer desired to report Gibbens and that he was emotional
when it happened. (Id. p. 4). Edmond also affirmed, twice, that he was satisfied with
his counsel’s performance. (Id. p. 4, 11). Even if these facts favor a finding that
Edmond would have proceeded to trial, we still concluded that Edmond was not
prejudiced by Gibbens’ decision to concede the first prong of Terry because
challenging the justification of the officer’s actions at inception would have been
futile.

The relationship between the two prongs of Terry necessitates a finding of the
first prong before proceeding to the second. See 392 U.S. at 19-20 (1968) (“whether
the officer's action was justified at its inception, and whether it was reasonably
related in scope to the circumstances which justified the interference in the first
place”). Because of this relationship, Magistrate Judge Hanna’s report and
recommendation to deny Edmond’s motion to suppress included an analysis of the
first prong.

For a traffic stop to be justified at its inception, an officer must have an

objectively reasonable suspicion — before stopping the vehicle — that

some sort of illegal activity, such as a traffic violation, has occurred or is

about to occur... Officer Richard’s testimony and the officers’ body

camera footage from the scene clearly show that the officers had

 
Case 6:18-cr-00091-DDD-PJH Document 68 Filed 06/01/21 Page 11 of 12 PagelID #: 407

probable cause to believe that the defendant was, at the very least, in

violation of Louisiana Revised Statute 14:97, in that his vehicle was —

obstructing the flow of traffic. Thus, Terry’s first prong is satisfied.
(Doc. 34 p. 10-11) (citations omitted).

It is patently obvious that Magistrate Judge Hanna’s conclusion that the traffic
stop was justified was absolutely correct. Edmond’s vehicle was sitting at the
intersection of Evangeline Thruway (the major north-south thruway in Lafayette,
Louisiana) and Mudd Avenue. The vehicle did not move for several light cycles even
after police arrived on scene. As such, Edmond’s vehicle was in violation of Louisiana
Revised Statute 14:97 and presented a dangerous hazard to moving traffic. Edmond
presents no evidence or argument to undermine the conclusion that Edmond’s vehicle
was clearly in violation of state law. The violation gave the officers justification to
approach the vehicle and proceed as they did.

Even if, before now, Edmond had challenged the officer’s justification to
approach his vehicle and investigate, including a search, such a motion would have
been denied as meritless and, thus, would not have altered the risk Edmond faced
going to trial or affected the charge to which he plead guilty. Accordingly, we do not
find that Edmond was prejudiced by any decision to concede the first prong of Terry.

Finally, we observe that the issues with the search of Edmond’s vehicle were
considered on appeal after we allowed him to enter a conditional guilty plea. He has

had his day in court.

 
Case 6:18-cr-00091-DDD-PJH Document 68 Filed 06/01/21 Page 12 of 12 PagelID #: 408

IV. CONCLUSION

For the reasons enumerated above, it is hereby ORDERED that Defendant’s
motion to vacate his sentence pursuant to 28 U.S.C. § 2255 is DENIED.

THUS DONE AND SIGNED at Alexandria, Louisiana this ~ day of

2021.

att,

So ———ne
DEE D. DRELL, JUDGE
UNITED STATES DISTRICT COURT

 
